Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 1 of 13 Page ID #:330




                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT of CALIFORNIA
                                WESTERN DIVISION (LOS ANGELES)

                        CIVIL ACTION NO: 2:24-cv-01631-MWF-PVC



    BRANDON JOE WILLIAMS®,

                   Plaintiff,
                                                     Honorable Judge Michael W. Fitzgerald
            v.                                         Magistrate Judge Pedro V. Castillo

    AMERICAN EXPRESS COMPANY;
    AMERICAN EXPRESS KABBAGE
    INC.
            Defendants.




                   OBJECTION TO THE COURT’S ORDER DATED JULY 10, 2024

          COMES NOW Plaintiff BRANDON JOE WILLIAMS®, and respectfully submits this

   objection to the Court's order dated July 10, 2024, which granted the Defendants’ Motion to

   Dismiss and denied Plaintiff’s Motion to Strike, among other motions. This objection is

   grounded in the belief that the Court erred in its conclusions regarding the validity of Plaintiff’s

   claims and the application of the Local Rules. The Plaintiff contends that the Court's decision to

   dismiss the case based on the “vapor money theory” was unjust, and that Plaintiff’s claims were

   not properly considered on their merits. Additionally, Plaintiff asserts that the denial of the

   Motion to Amend the Complaint unjustly precludes the presentation of significant new evidence

   and legal arguments that could substantiate the claims against the Defendants, American Express

   Company and American Express Kabbage, Inc. This objection aims to address these concerns

   and seek a reconsideration of the dismissal order. Furthermore, this objection is submitted to
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 2 of 13 Page ID #:331




   preserve the record for potential appellate review, ensuring that all pertinent arguments and

   issues are fully documented for consideration by a higher court.


   from Section II - BACKGROUND


   General Objections – Paragraph 1


      1. In accordance with UCC 3-307, BRANDON JOE WILLIAMS® is the “represented

          person” and “Brandon Joe Williams” is the “fiduciary” in the relationship with AMEX.

          There are two “persons” here operating as one. This is the structure of ALL credit

          accounts that manufacture negotiable instruments, not just this one. Most people are

          simply not aware of this fact. I wrote this complaint in order to highlight the truth of the

          contract.

      2. The represented person is not a man or woman. It is an ens legis.

      3. In the most self-evident terms possible, the idea that “BRANDON JOE WILLIAMS®” is

          a “franchise” is quite evident in the fact that the “Franchise Tax Board” collects State

          taxes in our names in California. If you have a State tax liability yourself, most honorable

          judge, you “pay” those taxes under your name in all capital letters as a “franchise.”

      4. A franchise is a business. A franchise is a person.

      5. Brandon Joe Williams does, factually, have a registered trademark on his franchise

          “BRANDON JOE WILLIAMS®” - which is #97335158. This is not a pending trademark

          but is a fully completed and entirely issued trademark that has gone through each step of

          the USPTO process. I will attach this evidence as Exhibit A.

      6. Every time I place my credit card in a credit card processing device, an

          UNCONDITIONAL PROMISE TO PAY is produced.
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 3 of 13 Page ID #:332




      7. This promise to pay, in itself, is a negotiable instrument in accordance with UCC 3-104.

      8. This is why both you and I (you do the same thing that I'm describing here, honorable

         judge) have to “sign” the receipt. To “sign” is to “indorse.”

      9. In accordance with UCC 3-204, we have the definition of “indorsement”: “(a)

         "Indorsement" means a signature, other than that of a signer as maker, drawer, or

         acceptor, that alone or accompanied by other words is made on an instrument for the

         purpose of (i) negotiating the instrument, (ii) restricting payment of the instrument, or

         (iii) incurring indorser's liability on the instrument.”

      10. This is not exclusive to my complaint, pleadings or claims. Everything I am explaining

         here is all the same for your personal loans, credit cards, etc, most honorable judge.

         These exact same causes of action are being committed on you as they are on me and my

         principal, BRANDON JOE WILLIAMS®. It is simply unknown to everyone. You are

         indorsing all your unconditional promises to pay with what is called a “blank

         indorsement.”

      11. UCC § 3-205, entitled “SPECIAL INDORSEMENT; BLANK INDORSEMENT;

         ANOMALOUS INDORSEMENT.” states: “(a) If an indorsement is made by the holder

         of an instrument, whether payable to an identified person or payable to bearer, and the

         indorsement identifies a person to whom it makes the instrument payable, it is a "special

         indorsement." When specially indorsed, an instrument becomes payable to the identified

         person and may be negotiated only by the indorsement of that person. The principles

         stated in Section 3-110 apply to special indorsements.


         (b) If an indorsement is made by the holder of an instrument and it is not a special

         indorsement, it is a "blank indorsement." When indorsed in blank, an instrument becomes
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 4 of 13 Page ID #:333




         payable to bearer and may be negotiated by transfer of possession alone until specially

         indorsed.”


      12. You and I both, most honorable judge, have been indorsing everything with a blank

         indorsement without knowing it. Then that unconditional promise to pay, which is a

         negotiable instrument, is a valuable security with real tangible value. Then that

         instrument can be exchanged or also swapped for Federal Reserve Notes at the Federal

         Reserve Discount Window (in accordance with 12 USC 412).


   General Objections – Paragraph 2


      13. While Brandon Joe Williams did send in 3 1099a forms, this is only about 1% of the

         overall complaint and 99% of the complaint has been overlooked and was not mentioned

         in the orders.

      14. I understand that this entire subject of UCC Article 3 is confusing and difficult to

         understand, but I am attempting to explain it the best I can. If given a hearing, I believe a

         greater understanding and clarity can be achieved from live discourse. I assure you that I

         have spent hundreds of hours attempting to understand this and will not waste your time.

      15. 99% of my complaint involves the NEGOTIABILITY of negotiable instruments that are

         already on the account. These claims have NOTHING to do with the 3 1099a forms that

         were sent to perform on the account.

      16. Because of the above, it appears as though my case has been dismissed based on 1% of

         the overall complaint. While I understand that this subject is confusing, this is not

         acceptable, and I deserve to have my pleadings fully heard and understood by this most

         honorable court.
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 5 of 13 Page ID #:334




      17. It is said here that: “Plaintiff attempted to pay his debt obligations to AMEX using this

         ability to “create currency.” The problem is that I was, unknowingly, indorsing

         everything with a blank indorsement rather than with a special indorsement. We are all

         “creating currency” every single time we use our credit cards by producing a brand-

         spanking new unconditional promise to pay. This is not novel or special to my case.

         Again, what my pleadings are regarding is only and explicitly the NEGOTIATION of

         those instruments that are being produced. I cannot stress this enough. You could sum my

         whole pleadings up by saying “fraud regarding NEGOTIABILITY.”

      18. Again, this case is regarding two key words that I wish I would actually see written from

         the court and the defense: these words are “NEGOTIABILITY” and “INDORSEMENT.”

         Without the use of these words in orders and other documents coming from AMEX or the

         court, I am unsure that my complaint or pleadings are understood or even being heard at

         all. Talking about “money” or “vapor” or “theories” is solid evidence that my pleadings

         are being ENTIRELY disregarded WITHOUT evaluation.

      19. UCC 3-207 is entitled “REACQUISITION” and states the following: “Reacquisition of

         an instrument occurs if it is transferred to a former holder, by negotiation or otherwise. A

         former holder who reacquires the instrument may cancel indorsements made after the

         reacquirer first became a holder of the instrument. If the cancellation causes the

         instrument to be payable to the reacquirer or to bearer, the reacquirer may negotiate the

         instrument. An indorser whose indorsement is canceled is discharged, and the discharge

         is effective against any subsequent holder.”

      20. What I am doing is claiming fraud on the original negotiation of EVERY instrument that

         has ever been produced on the account (not anything that I mailed in or issued to
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 6 of 13 Page ID #:335




         AMEX). This fraud is based off the duty that AMEX had in making sure that I

         understood basic negotiation. No one, even an insane person, would do a blank

         indorsement on all these valuable unconditional promises to pay if they knew that they all

         have the exact same value in law as Federal Reserve Notes and that they are

         exchangeable for Federal Reserve Notes via the process found in 12 USC 412. This is not

         a conspiracy theory and is fully and entirely governed by UCC Article 3. AMEX

         breached the duty they have of making sure that I understand the terms and conditions of

         the contract and, by making sure that I did NOT understand the negotiation process, they

         were unjustly enriched by being able to essentially take every single unconditional

         promise and order on the account for themselves due to me doing a blank indorsement

         rather than a special indorsement. Again, this is the EXACT same situation in your own

         personal life, most honorable judge. This is the exact same “conspiracy” that is

         happening to everyone who is not stating the payee on their credit transaction securities.

         This is much bigger than just you and I.

      21. “US dollars” are defined as only two things: 1. Unconditional promises to pay and 2.

         Unconditional orders to pay. This is in accordance with UCC 3-104. Again, I want to

         reiterate this again, I am ONLY talking about negotiable instruments here and I am

         absolutely, positively NOT talking about “money” in absolutely ANY respect at all

         whatsoever. I filed a NEGOTIABLE INSTRUMENTS case, NOT a “money” case.


   from Section III – LEGAL STANDARD


   General Objections
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 7 of 13 Page ID #:336




      22. The idea that my complaint is not “plausible on its face” is only possible due to a lack of

         understanding of this most honorable court, not due to the actual pleadings set forth. I am

         willing to bring a full printout of UCC Article 3 into court in order to hash out and clarify

         all confusions and I am also preparing to do the same with a jury (which I understand is a

         huge undertaking, but I have been working hard for a long time to be able to do this). I

         have tons of educational material available online on this subject and I have been on

         literally over 100 shows and podcasts speaking about the subject of negotiable

         instruments.

      23. I can tell by these orders that there are serious and intense misunderstandings in regards

         to negotiable instruments and I am fully prepared to assist my principal, the court, and the

         defense in fully understanding each and every individual word and line of UCC Article 3.

      24. I produce quite a bit of educational material on UCC Article 3 and have been honing my

         ability to explain this information in a digestible way for almost 2 years. This may simply

         be more than what the written words can achieve and require more of a “song and dance”

         to achieve understanding with this most honorable court. Of which I am ready and

         willing to do.


   from Section IV - DISCUSSION


   General Objections – SUBSECTION “A” (failure to state a claim)


      25. It is evident by the orders to dismiss that about 99% of the overall pleadings in my

         complaint were either ignored or misunderstood. Due to my lack of contact with the court

         in a meaningful way, I am erring on the side of a misunderstanding. Again, 99% of my

         pleadings are as regards to “NEGOTIABILITY” and “INDORSEMENTS” (NOT the
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 8 of 13 Page ID #:337




         1099a payments, which account for 1% of the overall pleadings and could literally be

         removed entirely from the complaint without my complaint suffering hardly at all).

      26. The submission of the 1099a bills is nothing more than a story-telling aspect of the

         complaint and in no way constitutes more than 1% of my overall causes of action,

         complaint, evidence, or anything else. I could even amend the complaint and simply

         remove it entirely and it would make ZERO difference to my pleadings.

      27. The operation of negotiable instruments is quite simple, once studied in a serious way. I

         have developed an acronym to help in the understanding of this complicated subject and

         it is called “HITA.” It stands for “Holder-Indorsement-Tender-Acceptance” and is a

         simplified way to describe the process of “NEGOTIATION.”

      28. One becomes the holder by possessing the note or bill, then indorses the note or bill to

         prepare it for negotiation, then unconditionally offers the note or bill (tender), then the

         note or bill is delivered (which is the definition of “accepted”). Then the cycle starts anew

         where the receiver is now the holder and “HITA” begins again from the beginning.

      29. This entire system is akin to playing catch in the backyard with a baseball. And the rules

         of “dishonor” (meaning the rules of “you screwed up”) are limited only to what is found

         in UCC 3-502. There are NO OTHER WAYS TO DISHONOR AN INSTRUMENT.

      30. In this section there is talk of something called a “vapor money theory.” I would like to

         be absolutely and entirely clear that NOTHING in my entire complaint, NOTHING in my

         pleadings, NOTHING I am talking about here and NOTHING I will be talking about

         later in this suit has to do with “money.” I am NOT talking about “money,” I don’t want

         to talk about “money,” talking about money is a waste of this court’s valuable time and I

         want to get off of that irrelevant and wasteful subject as RAPIDLY as possible and steer
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 9 of 13 Page ID #:338




         COMPLETELY clear of it for the remainder of these proceedings and any appeals that

         may be needed to get relief on my situation.

      31. I'm not entirely sure what “redemption” is. I'm not sure it is relevant due to not

         remembering that being mentioned in UCC Article 3.

      32. I filed this case as a negotiable instruments case, not as a “money” case. UCC 3-102 does

         all the heavy lifting for me: “(a) This Article applies to negotiable instruments. It does not

         apply to money” - again, we are NOT talking about “money,” or “vapor money” or any

         “theories.” We are talking about negotiable instruments and UCC Article 3. Any

         assumption that I am talking about anything else is a STRONG objection from me as

         ENTIRELY irrelevant and is fraud upon this most honorable court.

      33. Any talk about “money,” regardless of who is talking about it, is ENTIRELY irrelevant

         and proves that there are some serious misunderstandings in this most honorable court

         regarding my pleadings. I am not, have not been and WILL NOT BE speaking on the

         subject of “money” AT ALL. This suit does not involve the subject of money. This is a

         negotiable instrument case, which is governed by UCC Article 3, exclusively.

      34. I am well aware of HJR-192 and the Emergency Banking Act of 1933. I am not basing

         my pleadings or argument on either of those things and have never mentioned either of

         those things in anything I have submitted to this most honorable court. I am operating

         only and exclusively from UCC Article 3, of which I have a great veneration and interest

         in. I need nothing more and nothing less than UCC Article 3 to take this case to a victory.

      35. A “bill of exchange” is defined as “an unconditional order to pay.” “Pay” or “payment” is

         defined as “to perform on a duty, contract or obligation.” To “pay” does not exclusively

         mean with a specific type of promissory note called a “Federal Reserve Note.” “US
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 10 of 13 Page ID
                                  #:339



       dollars” are defined as negotiable instruments so ALL negotiable instruments are able to

       be used to perform on a duty, contract or obligation.

    36. I am claiming, in my complaint, all previous promissory notes and bills of exchange on

       all accounts since the inception of our accounts with AMEX. But the primary focus is the

       negotiation of the NOTES that are produced from each credit transaction. The bills of

       exchange are secondary aspects of the overall obligations, but have also been claimed by

       the qualified/special indorsement found in my complaint.

    37. I understand that the Title 18 claims have no private right to action. As a new pro se

       litigant, both myself as the agent and my principal are both trying to understand this

       process and procedure as rapidly as possible. This is all new to us and I assure you that I

       study all night and day in an attempt to become more knowledgeable, more clear, more

       concise and more friendly. We are both far from perfect and genuinely hope we can get

       an opportunity to properly plead our claims.

    38. This is why the amended complaint was filed, to correct and eliminate all the causes of

       action that are now realized to be futile (Title 18) and to replace them with realistic and

       relevant claims.

    39. Due to this, everything in this write-up is all objections and both BRANDON JOE

       WILLIAMS® and Brandon Joe Williams acknowledge the tremendous confusion and

       difficulties as regards to negotiable instruments and UCC Article 3. Again, we are not

       speaking about “vapor” or “money” or any “theories.” I have taken the time to download

       the complaint in Martin v Capitol One and it appears as though he sent promissory notes

       in to perform on the account. This is an entirely irrelevant case to mine. Again, 99% of

       my case is regarding the “NEGOTIABILITY” and “INDORSEMENTS” of all of the
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 11 of 13 Page ID
                                  #:340



       instruments that were produced on the account each and every time a credit card

       transaction took place. There is literally a “promise to pay” section right in the

       cardmember agreement. I will attach a screenshot of that section of my cardmember

       agreement at Exhibit B. All transactions with a credit card are unconditional promises to

       pay (Federal Reserve Notes are also unconditional promises to pay).

    40. Federal Reserve Notes ARE NOT “money.” They are unconditional promises to pay.

       Again, I want to be clear, I am absolutely, positively, decisively, entirely and completely

       NOT talking anywhere in my pleadings about “money.”

    41. I am fully prepared to explain, draw, act out, dance, sing, break dance on tables, or

       anything else required to get my pleadings understood in a way to allow this most

       honorable court to move forward in helping both myself and BRANDON JOE

       WILLIAMS® achieve the relief requested in the original complaint.

    42. If the above objections and subsequent motions are not enough for reconsideration, I will

       be using all these objections to go to appeals and will also be writing a complaint due to

       the fact that I am not even being given an opportunity to explain myself, give examples

       or plead my case.

    43. AMEX has created debt slaves out of everyone through one simple trick: blank

       indorsements rather than qualified and/or special indorsements. It’s literally that simple

       and my entire pleadings can be summed up through this description. The 1099a

       submissions are irrelevant to that.


       PRAYER FOR RELIEF
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 12 of 13 Page ID
                                  #:341



               WHEREFORE, Plaintiff BRANDON JOE WILLIAMS® respectfully requests

       that this Honorable Court:


    1. Reconsider the dismissal of Plaintiff’s complaint in light of the comprehensive objections

       presented herein, which clarify the focus on negotiability and indorsements of negotiable

       instruments, and not on the 1099a submissions or any irrelevant theories about money.

    2. Grant a hearing to allow Plaintiff to present a detailed explanation of the relevant

       provisions of UCC Article 3 and the significant misunderstandings surrounding

       negotiability and indorsements, which are central to the Plaintiff's claims.

    3. Allow Plaintiff to amend the complaint to remove any references to the 1099a forms and

       Title 18 claims, thereby streamlining the complaint to focus solely on the issues of

       negotiability and indorsements under UCC Article 3.

    4. Recognize that Plaintiff’s claims are not frivolous and are grounded in established legal

       principles governing negotiable instruments, which warrant full consideration and

       adjudication by this Court.

    5. Provide any further relief that this Court deems just and proper to ensure that Plaintiff’s

       claims are fully heard and fairly adjudicated, including but not limited to, compensation

       for any damages incurred due to the wrongful dismissal and unjust enrichment by

       AMEX.

    6. Preserve the record for potential appellate review to ensure that all pertinent arguments

       and issues are fully documented for consideration by a higher court, if necessary.
Case 2:24-cv-01631-MWF-PVC Document 31-1 Filed 07/13/24 Page 13 of 13 Page ID
                                  #:342



 July 13, 2024                                 RESPECTFULLY SUBMITTED,


                                               BRANDON JOE WILLIAMS®

                                               BY: /s/ Brandon Joe Williams
                                               Brandon Joe Williams, Agent, Pro Se
                                               P.O. Box 1962
                                               Glendale, California 91209
                                               brandon@williamsandwilliamslawfirm.com
                                               (213) 309-7138

                                Certificate of Service

        Plaintiff certifies that on July 13th, 2024, the foregoing OBJECTION was
 filed with the Clerk of this Court via ECF. I further certify that, as of the same
 date, all counsel of record below were served with a copy via email and ECF.

 Distribution:

 Brianna M. Bauer
 Steptoe and Johnson LLP
 2029 Century Park East, 18th Floor
 Los Angeles, CA 90067-3086
 213-439-9400
 bbauer@steptoe.com
